              Case 2:02-cr-00213-MCE Document 399 Filed 03/19/10 Page 1 of 2




 1

 2

 3

 4

 5

 6

 7

 8                          IN THE UNITED STATES DISTRICT COURT

 9                       FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                     No. CR S-02-0213-MCE-CMK

12                  Respondent,

13          vs.                                    ORDER

14   ELIAS MIGUEL BERRERA-MEDINA,

15                  Movant.

16                                             /

17                  Movant, a federal prisoner proceeding pro se, brings this motion to correct or set

18   aside a criminal judgment pursuant to 28 U.S.C. § 2255. The matter was referred to a United

19   States Magistrate Judge pursuant to Eastern District of California local rules.

20                  On February 12, 2010, the Magistrate Judge filed findings and recommendations

21   herein which were served on the parties and which contained notice that the parties may file

22   objections within a specified time. Timely objections to the findings and recommendations have

23   been filed.

24   ///

25   ///

26   ///

                                                      1
                Case 2:02-cr-00213-MCE Document 399 Filed 03/19/10 Page 2 of 2




 1                  In accordance with the provisions of 28 U.S.C. § 636(b)(1)(C) and Local Rule

 2   304(f), this court has conducted a de novo review of this case. Having carefully reviewed the

 3   entire file, the court finds the findings and recommendations to be supported by the record and by

 4   proper analysis.

 5                  Accordingly, IT IS HEREBY ORDERED that:

 6                  1.     The findings and recommendations filed February 12, 2010, are adopted in

 7   full;

 8                  2.     Respondent’s motion to dismiss (Doc. 392 in the criminal docket) is

 9   granted;

10                  3.     Movant’s motion pursuant to 28 U.S.C. § 2255 (Doc. 386 in the criminal

11   docket) is dismissed; and

12                  4.     The Clerk of the Court is directed to close companion civil case no. CIV

13   S-09-2298-MCE-CMK.

14
      Dated: March 19, 2010
15
                                                  ________________________________
16                                                MORRISON C. ENGLAND, JR.
                                                  UNITED STATES DISTRICT JUDGE
17

18

19

20

21

22

23

24

25

26

                                                     2
